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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DISTRICT

JP MORGAN CHASE BANK, NATIONAL     )
ASSOCIATION,                       )
                                   )
                       Plaintiff,  )
                                   )
           v.                      )                         Case No. 1:19-CV-05770
                                   )
ROBERT KOWALSKI, AKA ROBERT M.     )
KOWALSKI; UNKNOWN OWNERS AND       )
NON-RECORD CLAIMANTS; CHICAGO      )                        1512 W. Polk Street
TITLE LAND TRUST COMPANY s/i/i TO  )                        Chicago, IL 60607
BRIDGEVIEW BANK GROUP FKA          )
BRIDGEVIEW BANK AND TRUST COMPANY, )
AS TRUSTEE UNDER TRUST AGREEMENT   )
DATED APRIL 24, 1993 AND KNOWN AS  )
TRUST NUMBER 1-2228; MARTHA        )
PADILLA; FEDERAL DEPOSIT INSURANCE )
CORPORATION, AS RECEIVER FOR       )
WASHINGTON FEDERAL BANK FOR        )
SAVINGS,                           )
                                   )
                       Defendants. )

                         JOINT STATUS REPORT ON DISCOVERY

        The parties hereby jointly submit this Status Report on Discovery pursuant to Court Order.

(See Dkt. 135).

A.      PROGRESS ON DISCOVERY

        1.     Plaintiff JPMorgan Chase Bank, N.A. ("Chase"), Defendant Federal Deposit

Insurance Corporation, as Receiver for Washington Federal Bank for Savings ("FDIC-R") and

Defendant Martha Padilla ("Padilla") continue to issue and respond to written discovery requests

and subpoenas pursuant to the discovery schedule and deadline for completion of fact discovery

by September 30, 2021.

        2.     The remote deposition of William Judge was taken on July 14, 2021.
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        3.      The FDIC has sent a subpoena to Talmer Bank that is returnable on July 23.

        4.      Discovery is stayed as to Third-Party Defendant First Midwest Bank. (See Dkt.

141.)

B.      PROGRESS ON SETTLEMENT DISCUSSIONS.

        There has not been any significant progress on settlement since the settlement conference

on May 13, 2021.

C.      ANY OTHER ISSUES TO REPORT TO THE COURT.

        None.

                SUBMITTED JOINTLY AND BY AGREEMENT OF THE PARTIES:


 PLAINTIFF JPMORGAN CHASE BANK, DEFENDANT FEDERAL DEPOSIT
 NATIONAL ASSOCIATION           INSURANCE CORPORATION,
                                AS RECEIVER FOR WASHINGTON
                                FEDERAL BANK FOR SAVINGS

 /s/ Shana A. Shifrin                               /s/ Jordana E. Thomadsen
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DEFENDANT MARTHA PADILLA                   THIRD-PARTY DEFENDANT FIRST
                                           MIDWEST BANK

/s/ Joseph R. Ziccardi                     /s/ Zachary P. Mulcrone
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